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                                                                                                            ®
                                                                                    GILSON GRAY
                                                                                       LAW        •   PROPERTY              •   FINANCE




                                                                                                                                                                         Date: 21 February 2020
                       Harper Macleod LLP                                                                                                                             Our ref: AG/LIM/6/1
                       DX86                                                                                                                                Your Ref: SH/KID/0040/521196
                       Glasgow
                                                                                                                                                      Please reply to: Glasgow Office
                                                                                                                                                           Tel no: +44 (0)1415302041
                       By email:                                                                                                                          Fax no: +44 (0)141 530 2035
                       david.kerr@harpermacleod.co. uk                                                                                                Email: agarioch@gilsongray.co.uk


                       Dear Sirs

                       Robert Kidd v Lime Rock Partners V, LP. and Others
                       Court of Session - CA163/19

                       We refer to your letter dated 14 February. In response we would advise as follows.

                       The decrease in value of the fund that you refer to is largely due to a fall in value of the assets
                       held. It is a matter of public knowledge that energy company valuations have been decreasing
                       since 2016 due to the state of the energy markets. Our client does not anticipate making any
                       material distri_butions to its investors in the near future, and in any event is obligated by
                       professional accounting standards to take into account potential liabilities such as this
                       litigation prior to making distributions.

                      With regard to your point 4, our client's intention is to seek an extension which they believe
                      will be obtained. In any event, if consent was not given for an extension, the process of
                      dissolution would require to commence. That exercise would involve the sale of all assets,
                      settlement of all liabilities and then distribution of the surplus. Such a process would take
                      some time, perhaps as long as two to three years since our client would still attempt to
                      maximise value for its investors. It should accordingly be clear to your client that this process
                      would require any liability arising from your client's claim to be settled before any distribution.

                      As should be clear from the above, but in any event we can also advise, no actions are being
                      taken to deplete the fund's assets. Further the Fund is confident it has sufficient assets to
                      satisfy any liability arising from the current litigation.

                      We trust this is sufficient to address the points made by you.


                      Yours Faithfully




                  29 Rutland qu re, Edinburgh EH 1 2BW T 0131 516 5354 F 0131 516 5378 LP 31 Edinburgh 2 DX Edinburgh 5
                  160 West G ge Street, Glasgow G2 2HG T 0141 530 2021 F 0141 530 2035 LP 14 Glasgow 6 DX Glasgow 10
                      33 Westgate, North Berwick EH39 4AG T 01620 893481 F 01620 894442 DX DX541245 North Berwick
                                                E info@gilsongray.co.uk               gilsongray.co.uk                    Company No. S0304731            VAT No. 180772300

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      Members, David W A1exander, Keith Anderson, lam K Cla1 k (Sol1t1to, Ad ,ocate). Ph1l1ppa Cunniff, Crarg C Darling, Andrew F!eetwood" Euan K J Flommg, John Fulton, Alei< Ga11och, Glen D Gilso,,. Dorei HamtW,
Steven W Jansch (Sol i citor Advrxatet Dorothy Kellas, Donna kellr-Gilrnour·, Df,borah McCath1e, Graham Millar, Sally Nash. H Slllart Rob8rtson, Murray Stewar1-, Rosie Walke,. 'Also qual1f,ed as Solicitors 1n Engl,:;nd & Wules
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Solicitor Advocate, Partner
Gilson Gray LLP




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